




NO









NO. 12-09-00059-CV

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN
THE COURT OF APPEALS

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TWELFTH
COURT OF APPEALS DISTRICT

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TYLER, TEXAS

&nbsp;

ENERGY TRANSFER FUEL, L.P.,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; '&nbsp;&nbsp;&nbsp;&nbsp; APPEAL
FROM THE 173RD

APPELLANT

&nbsp;

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; '&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL
DISTRICT COURT OF

&nbsp;

STEVEN L. TRAMMELL AND 

SANDRA J. TRAMMELL,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; '&nbsp;&nbsp;&nbsp;&nbsp; HENDERSON
COUNTY, TEXAS

APPELLEES

&nbsp;





MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
one issue, Appellant, Energy Transfer Fuel, LP (“ETF”), contends that the trial
court abused its discretion by failing to release the bond ETF posted after
obtaining a temporary restraining order against the Appellees, Steven L.
Trammell and Sandra J. Trammell.&nbsp; ETF’s complaint pertains to two orders:&nbsp; the
trial court’s order denying ETF’s motion to release the bond and its order
denying ETF’s motion to reconsider that ruling.&nbsp; We reverse the trial court’s
orders and remand with instructions. 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ETF
is a public gas utility and has the right of eminent domain.&nbsp; As a condemning
authority, ETF has the right to enter upon property to make preliminary surveys
of proposed routes along which its gas pipelines may be constructed.&nbsp; ETF
requested permission to enter the Trammells’ property to conduct surveying
activities in connection with a proposed pipeline route, but was refused
entry.&nbsp; Thereafter, on July 23, 2008, ETF petitioned the court for a temporary
restraining order (“TRO”) as well as a temporary injunction and a permanent
injunction against the Trammells.&nbsp; On the same day, the trial court signed an
order granting a TRO prohibiting the Trammells from interfering or attempting
to interfere with ETF’s right to enter and survey the route of its pipeline
across the Trammells’ property.&nbsp; As a condition of issuing the TRO, the trial
court ordered ETF to post a $25,000 bond.&nbsp; The order also set a hearing for
July 31, 2008, “to determine whether this temporary restraining order should be
made a temporary injunction pending a full trial on the merits.”&nbsp; ETF deposited
$25,000 cash in lieu of a bond, which was approved by the Henderson County
District Clerk.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; After
obtaining the TRO, ETF immediately began its surveying activities on the Trammells’
property and completed its work on July 29, 2008.&nbsp; The following events then
occurred in the trial court: 


 July 29, 2008


ETF filed a
notice of nonsuit, and sent the Trammells notice of the filing.

&nbsp;


 July 31, 2008


ETF filed a
motion requesting the return of its $25,000 cash bond.

&nbsp;


 August 11, 2008


The trial court
denied ETF’s motion requesting the return of its cash bond.

&nbsp;


 August 28, 2008


ETF filed a
motion requesting the trial court to reconsider its refusal to release the bond.

&nbsp;


 September 4, 2008


Counsel for ETF
and counsel for two of the other restrained parties appeared for a hearing on
ETF’s motion to reconsider.&nbsp; The Trammells did not appear. For reasons
unrelated to the Trammells’ absence, the hearing was reset for September&nbsp;10,
2008.

&nbsp;


 September 10, 2008


The trial court
conducted a hearing on ETF’s motion to reconsider.&nbsp; Counsel for ETF was present
at the hearing along with one of the other restrained parties and his counsel
were present.&nbsp; Counsel for ETF presented oral argument, and the trial court
ruled from the bench that ETF’s motion to reconsider was denied.

&nbsp;


 November 17, 2008


The trial court
signed an order denying ETF’s motion to reconsider.

&nbsp;


 December 29, 2008


ETF filed a
petition for writ of mandamus in this court requesting an order directing the
trial court to (1) set aside the order denying its motion to reconsider, &nbsp;(2) release
ETF’s bond, and (3) issue an order of nonsuit.

&nbsp;


 February 3, 2009


The trial court
signed an order dismissing “[the] cause,” but did not release the bond.

&nbsp;


 March 3, 2009


ETF filed a
notice of appeal complaining of the trial court’s failure to release the bond.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
trial court’s dismissal order rendered ETF’s petition for writ of mandamus moot
as to ETF’s request for an order of nonsuit.&nbsp; We denied mandamus relief after
concluding that appeal was an adequate remedy for ETF to challenge the trial
court’s rulings on the bond.&nbsp; See In re Energy Transfer Fuel, L.P.,
298 S.W.3d 357, 361 (Tex. App.–Tyler 2009, orig. proceeding).&nbsp; Specifically, we
concluded that the order denying ETF’s motion to release the bond and the order
denying ETF’s motion to reconsider that ruling merged into the final order
dismissing the case and were appealable.&nbsp; See Webb v. Jorns, 488
S.W.2d 407, 408-09 (Tex. 1973) (interlocutory order merges into final judgment
and becomes final for purposes of appeal); Douglas v. Am. Title Co.,
196 S.W.3d 876, 877, 879 n.6 (Tex. App.–Houston [1st Dist.] 2006, no pet.)
(vexatious litigant order merged into final judgment and was appealable even
though final judgment not appealed).&nbsp; ETF now appeals from those orders.[1]&nbsp;


&nbsp;

Failure to Release the Bond

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ETF
contends that, in light of its nonsuit and the subsequent order dismissing the
underlying proceeding, the trial court was required to release the $25,000 cash
bond.&nbsp; The Trammells have not filed a brief.

Standard
of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ETF
states in its brief that the trial court’s orders are reviewable for abuse of
discretion.&nbsp; We have not located any authority prescribing the standard of
review for the precise issue presented here.&nbsp; But typically, the abuse of
discretion standard is applied to procedural or other trial management
determinations.&nbsp; In re Doe, 19 S.W.3d 249, 253 (Tex. 2000).&nbsp;
Consequently, we will review the appealed orders for an abuse of discretion.&nbsp; See
id.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A
trial court commits an abuse of discretion when it acts “without reference to
any guiding rules and principles.”&nbsp; Downer v. Aquamarine Operators, Inc.,
701 S.W.2d 238, 241-42 (Tex. 1985).&nbsp; The “mere fact that a trial judge may decide
a matter within his discretionary authority in a different manner than an
appellate judge in a similar circumstance does not demonstrate that an abuse of
discretion occurred.”&nbsp; Id. at 242.&nbsp; A trial court has no
discretion in determining what the law is, which law governs, or how to apply
the law.&nbsp; Univ. of Tex. Health Sci. Ctr. v. Gutierrez, 237 S.W.3d
869, 871 n.1 (Tex. App.–Houston [1st Dist.] 2007, pet. denied).&nbsp;&nbsp; To the extent
that an issue turns on a question of law, the standard of review is the same
“regardless of whether it is described as abuse of discretion or de novo.”&nbsp;
Id.

Applicable
Law 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
the order granting any TRO, the court must fix the amount of security to be
given by the applicant.&nbsp; Tex. R. Civ. P.
684.[2]&nbsp;
Before the issuance of the TRO, the applicant must execute and file with the
clerk a bond to the adverse party, with two or more good and sufficient
sureties, to be approved by the clerk, in the sum fixed by the judge.&nbsp; Id.&nbsp;
The bond must be conditioned that the applicant will abide the decision made in
the cause, and will pay all sums adjudged against it if the TRO is dissolved,
either in whole or in part.&nbsp; Id.&nbsp; The applicant may instead
deposit cash in lieu of filing the bond.&nbsp; See Tex. R. Civ. P. 14c.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A
plaintiff may take a nonsuit at any time before it has introduced all of its
evidence other than rebuttal evidence.&nbsp; Tex.
R. Civ. P. 162.&nbsp; In a bench trial, a plaintiff can take a nonsuit at any
time before the decision in the case is announced.&nbsp; See Hyundai Motor Co.
v. Alvarado, 892 S.W.2d 853, 855 (Tex. 1995) (stating that “[o]nce a
judge announces a decision that adjudicates a claim, that claim is no longer
subject to the plaintiff’s right to nonsuit”).&nbsp; A plaintiff’s right to take a
nonsuit is unqualified and absolute as long as the defendant has not made a
claim for affirmative relief. &nbsp;BHP Petroleum Co. v. Millard, 800
S.W.2d 838, 840-41 (Tex. 1990).&nbsp; A nonsuit may be taken after a temporary
restraining order has been obtained but before the hearing on the temporary
injunction.&nbsp; See Payne v. Nichols, 176 S.W.2d 961, 963-64
(Tex. Civ. App.–Galveston 1943, writ ref’d w.o.m.) (holding that nonsuit may be
taken after temporary injunction obtained but before hearing on permanent
injunction, even where suit had been pending for two years and nonsuit was
taken when case came up for trial) (interpreting and applying predecessors to
rules 162 and 684).&nbsp; But the nonsuit does not defeat the right of a restrained
party who is damaged by the temporary restraining order to sue for wrongful injunction.&nbsp;
See id. at 963. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It
has long been established that a party who wrongfully obtains injunctive
restraint against another is liable for damages caused by the issuance of the
injunction.&nbsp; See Parks v. O’Connor, 70 Tex. 377, 388, 8
S.W.104, 107 (1888).&nbsp; An injunction is wrongful if its issuance was wrongful at
its inception or if it was continued in effect due to some wrong on the part of
the proponent.&nbsp; I.P. Farms v. Exxon Pipeline Co., 646 S.W.2d 544,
545 (Tex. App.–Houston [1st Dist.] 1982, no writ); Craddock v. Overstreet,
435 S.W.2d 607, 609 (Tex. Civ. App.–Tyler 1968, writ ref’d n.r.e.).&nbsp; Texas
recognizes two separate causes of action for wrongful injunction, one upon the
bond ordinarily filed to obtain the TRO or injunction, and the other for
malicious prosecution.&nbsp; DeSantis v. Wackenhut Corp., 793 S.W.2d
670, 685 (Tex. 990).&nbsp; The two actions differ in the kind of wrong that must be
shown to establish liability and in the amount of recovery.&nbsp; Id.&nbsp;
A claim for wrongful injunction can be predicated upon the wrongful issuance of
a TRO.&nbsp; Id. at 685-86.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A
cause of action upon an injunction bond is predicated upon a breach of the
condition of the bond. &nbsp;Id. at 685.&nbsp; As pertinent to the case at
hand, the claimant must prove that the TRO was issued when it should not have
been, and that it was later dissolved.&nbsp; Id. at 685-86.&nbsp; The
claimant need not prove that the TRO was obtained maliciously or without
probable cause.&nbsp; Id. at 686.&nbsp; The purpose of the bond is to
protect the defendant from the harm he may sustain as a result of temporary
relief granted upon the reduced showing required of the injunction plaintiff,
pending full consideration of all issues.&nbsp; Id.&nbsp; The damages under
this claim are limited by the amount of the bond.&nbsp; Id.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A
cause of action for malicious prosecution requires the claimant prove the
injunction suit was prosecuted maliciously and without probable cause, and was
terminated in his favor.&nbsp; Id.&nbsp; In this instance, the injunction
defendant recovers the full amount of his damages.&nbsp; Id. &nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Under
either cause of action, the claimant must prove that issuance of the TRO
resulted in damages.&nbsp; Id.&nbsp; Unless the TRO was wrongfully issued,
damages, except to property, are precluded as a matter of law.&nbsp; See I.P.
Farms, 646 S.W.2d at 545.&nbsp; But the claimant “cannot
recover for having been prohibited from doing something which he had no right
to do.”&nbsp; DeSantis, 793 S.W.2d at 686; see also Beathard
Joint Venture v. W. Houston Airport Corp., 72 S.W.3d 426, 435 (Tex.
App.–Texarkana 2002, no pet.) (injunction not wrongfully issued where airport’s
efforts to obtain injunction were based on an assertion of its own legal rights
not to have Beathard or Beathard’s tenants trespass on airport facilities). 

Application

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;Here,
the trial court denied ETF’s motion to release its bond.&nbsp; ETF filed a motion
for reconsideration of that ruling, and the trial court conducted a hearing on
the motion.&nbsp; At the hearing, the court agreed with ETF that it had a right to
take a nonsuit, but expressed concern that ETF did so before the restrained
parties’ answer date and before the temporary injunction hearing set for July
31. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ETF’s
counsel briefly recounted the procedural history of the case, and asserted that
ETF was required to dismiss its suit when its surveying activities were
completed to avoid wrongfully prolonging the TRO.&nbsp; Counsel then argued that if
the restrained parties believed their property had been harmed, they had the
right to “come back and seek property damages from [ETF] at any time.”&nbsp; Counsel
further offered to present testimony regarding the propriety of obtaining the
TRO, but the trial court did not allow the testimony.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
trial court responded that the restrained parties still had a right to bring an
action on the propriety of the TRO, and that if the bond were released, they
could not sue on the bond.&nbsp; The court cited that outcome as the reason it
refused to release the bond.&nbsp;&nbsp;&nbsp; When asked by ETF’s counsel whether the bond
would be held indefinitely, the court responded that it would “until there is
some either disposition or loss of [the restrained parties’] right to sue on
the TRO.”&nbsp; Counsel stated that she presumed the statute of limitations for any
action on the TRO would be two years, and asked whether the court intended to
hold the bond for two years.&nbsp; The court did not specifically answer counsel’s
inquiry.&nbsp; The Trammells did not attend the hearing.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Initially,
we note that we have located no authority supporting the retention, after final
judgment, of a bond posted as a condition to the issuance of a TRO.&nbsp; See
Lovall v. Yen, No. 14-07-00770-CV, 2008 WL 361373, at *2 (Tex.
App.–Houston [14th Dist.] Feb. 12, 2008, no pet.) (mem. op.) (stating that bond
disbursement order is merely a ministerial act incident to final judgment).&nbsp;&nbsp;
Even assuming, however, that the bond could be retained after final judgment
under special circumstances, no such circumstances are present here. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As
ETF points out, the Trammells did not appear and move for dissolution or
modification of the TRO.&nbsp; See Tex.
R. Civ. P. 680 (“On two days’ notice to the party who obtained the [TRO]
without notice or on such shorter notice to that party as the court may
prescribe, the adverse party may appear and move its dissolution or
modification . . . .”).[3]&nbsp;
Moreover, they did not (1) plead a claim for affirmative relief prior to ETF’s
nonsuit, (2) file a response to ETF’s motion for release of the bond, (3) attend
the September 10, 2008, hearing, (4) notify the court that they intended to
assert a wrongful injunction claim against ETF; or (5) otherwise provide the
trial court with any argument or authority in opposition to ETF’s motion for
reconsideration.&nbsp; In other words, the Trammells did nothing to show that they objected
to the release of ETF’s bond or would be adversely affected by its release.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
light of the Trammells’ inaction resulting in an absence of pleadings or
objections in opposition to ETF’s motion to release its bond and its motion to
reconsider the trial court’s ruling, we hold that the trial court abused its
discretion in denying the motions.&nbsp; See Goodin v. Jolliff, 257
S.W.3d 341, 353 (Tex. App.–Fort Worth 2008, no pet.) (error to release bond to
enjoined party in absence of pleading or proof that she was damaged by issuance
of temporary injunction); Am. Jet Charter, Inc. v. Cobbs, 184
S.W.3d 369, 377 (Tex. App.–Dallas 2006, no pet.) (trial court did not err in
denying posttrial request to reinstate injunction bond where enjoined party did
not object to prejudgment release of bond).&nbsp; Accordingly, we reverse the trial
court’s orders denying ETF’s motion to release its bond and denying ETF’s
motion for reconsideration of the order denying release of the bond, and remand
with instructions to the trial court to order release of the bond to ETF. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;
SAM GRIFFITH&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;
Justice

Opinion delivered August 31, 2010.

Panel consisted of
Worthen, C.J., Griffith, J., and Hoyle, J.

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

(PUBLISH)









[1]&nbsp;
At ETF’s request, we have taken judicial notice
of our file in appellate cause number 12-08-00486-CV.&nbsp; See, e.g., Tello
v. Bank One, N.A., 218 S.W.3d 109, 113 n.4 (Tex. App.–Houston [14th
Dist.] 2007, no pet.) (appellate court took judicial notice of pertinent
pleadings included in appellate record for another appeal in same trial court
case).





[2]&nbsp;
Rule 684 also applies to temporary injunctions.&nbsp;
Therefore, in our analysis, we cite authority relating to TROs and also
authority relating to temporary injunctions.





[3]
We do not suggest that recovery of damages for
wrongful injunction is foreclosed if the restrained party does not avail itself
of this procedure.&nbsp; See Lindsey v. Hart, 260 S.W. 286, 289 (Tex.
Civ. App.–Beaumont 1924), modified on other grounds, 276 S.W. 199 (Tex.
Comm’n App. 1925, jdgmt. adopted) (holding that enjoined party is not estopped
to claim damages by failing to sooner move to dissolve the injunction).

&nbsp;







